                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


   Mahmoud KHALIL,

                   Petitioner,

   v.

   Donald J. TRUMP, in his official capacity as
   President of the United States; William P.              Case No. 25-cv-1935 (JMF)
   JOYCE, in his official capacity as Acting Field
   Office Director of New York, Immigration and            NOTICE OF MOTION FOR
   Customs Enforcement; Caleb VITELLO, Acting              RELEASE UNDER MAPP V.RENO
   Director, U.S. Immigration and Customs
   Enforcement; Kristi NOEM, in her official
   capacity as Secretary of the United States
   Department of Homeland Security; Marco
   RUBIO, in his official capacity as Secretary of
   State; and Pamela BONDI, in her official
   capacity as Attorney General, U.S. Department of
   Justice,

                   Respondents.



PLEASE TAKE NOTICE that, upon the accompanying memorandum of law and supporting

declaration and exhibits, Amended Petition, and previously filed briefing in this action, Plaintiff-

Petitioner Mahmoud Khalil, through counsel, hereby moves this Court for an order of immediate

release under Mapp v. Reno, 241 F.3d 221 (2d Cir. 2000).


Dated: March 14, 2025                         Respectfully submitted,


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